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EXHIBIT “A-l”

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‘ FiLED _FOR RECORD

Cause' No.: C-17-09-1047-CV

Ector Couhty ~ 244’1|1' Districf Court

Ector _County, Texas

9/1£2017~1:02_ PM

Clar¥ssa Web_ster

CAUSE NO_ District C_|erk
_ By:` 1'nisha C'a_rden. Deputy

DONALD H. RILEY JR. AND SHARI IN THE DISTRICT COURT OF

A. RILEY,

Plaintiffs,
'ECTOR COUNTY, ’I`EXAS
v.

NATHAN PLAssMANANI)
TRAVELERS LLoYi)s 0F TEXAS.
le. co.,

JUDICIAL DISTRICT

Defendants.

 

PLAINTIFFS’ ORIGINAL PETITION

 

TO THE I-IONORABLE JUDGE OF SA[E) COURT:

COMES NOW, DONALD H. RI[.EY JR. AND SHARI A. R]LEY (“Plaintiffs”), and
files this Plaintz`jjfv’ Origi`nal Petitfon, complaining of NATHAN PLASSMAN and
TRAVELERS LLOYDS OF TEXAS INS. CO.,_ (“TRAVELERS” or “Defendant”), and for
cause of action, Plaintiffs would respectfully~show this I-Ionorable Couri the following

DISCOVI§`,"R."Y.7 CONTRO{: PLAN
1. Plaintiffs intend discovery in this case beet)nducted under the provisions ofil`-exas Rule
of Civil Procedure 190, Level 2, and requests that the Court enter an appropriate
scheduling order.
PARTIES
2. Plaintiffs `DONALD H RILEY JR. AND SHARI A RILEY are individuals-domiciled in

Ector County, Texas.

l. Defendant TRAVELERS is a domestic insurance company registered with the Texas

Departrnent of lnsurance engaging in the business of insurance in the State of Texas.

 

 

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Upon information and belief, its principal office is located at 1301 E Collins Rd,
Richardson, TX 75081. The Det`endant may be served with process by serving its
registered agent, CORPORATION SERVICE COMPANY, 211 E 7Ti-I STI`, STE 620,
_AUSTIN TX 78701-3218, by certified mail', return receipt, orr,persenal service.
Defendant NATHAN PLASSMAN is a Texas licensed public adjuster residing and doing
business at 6640 Carothers Pkwy, Franklin, TN 37067. This defendant may be served
with process at this address

JURISDICTION AND VENUE
The Court has jurisdiction over this cause of action because the amount in controversy is
within the jurisdictional limits of the Court. Plaintiffs are seeking only monetary relief
over $50;000 but not more than $1,000,000, including damages of any kind, penalties,
costs, expenses, pre-judgment interest, and attorney fees. Plaintii°i`s reserve the right to
amend this petition during or after the discovery process.
The Court, has jurisdiction over Dei`endant because this Befendant engages in the
business of insurance in the State of-Texas, and Plaintii`fs’ causes of action arise out of
this Defendant’s business activities in the State of Texas.
Venue is proper in Ector County, Texas, because the insured property is situated in Eotor
County, Texas.,and the events giving rise to this lawsuit oecurredin this county.

FACTS

Piaintift`s are the owner of a Texas I-lorneowner’s Insurance Policy Number 0TN553-
980]82565-676-1 (“the Policy”), which was issued by TRAVELERS
Plaintit`t`s own the insured property, which is specifically located at 4231 Lynbrook Ave.,

Odessa, TX 79762 (hereinafter the “Property”),

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9. TRAVELERS sold the Policy insuring the Property to Plaintift`s.

lO. On or about June 14, 2017 or June 23, 2017, a hail storm and/or windstorm struck Ector
County, Texas, causing severe damage to homes and businesses throughout the area. The
Property sustained extensive structural and exterior damage during the stonn.
Additionally, water intrusion through the roof caused significant damage throughout the
interior of the"structure.

ll. Plaintiffs submitted a claim to Defendant against the Policy for damages the Property
sustained as a result of the storm. Upon information and belief, Det`endant assigned
number H5B9854 for the claim.

12. Plaintiffs asked that TRAVELERS cover the cost of repairs to the Property, estimated at
$46,378.82, pursuant to the Policy.

13. Defendant set about to deny and underpay on properly covered damages As a result of
Defendant JASON MAXWELL’S unreasonable investigation of the claim, including not
providing full coverage for the damagessustained by Plaintii°fs, as well as under~scoping
the damages during its investigation and thus denying adequate and sufficient payment to
Plaintifis- to repair their property, Plaintiffs’ claim was improperly adjusted. ”ifhe
mishandling of Plaintiffs’ claim has also caused a delay in their ability to fully repair
their property, which has resulted-in additional damages To this date, Plaintift`s have yet

' to receive the full payment to which he is entitled under the Policy

14. As detailed in the paragraphs beiow, TRAVELERS wrongfully denied Plaintiffs’ claim

for repairs of the Property, even though the Policy provided coverage for losses such as

those suffered by Plaintiffs. Furthermore, TRAVELERS underpaid some of Plaintit`t`s’

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claims by not providing full coverage for the damages sustained by Plaintit‘t`s, as well as
under-scoping the damages during its investigation

To date, TRAVELERS continues to delay in the payment for the damages to the
property. As such, Plaintift`s have not been paid in full for the damages to their property.
Defendant TRAVELERS failed to perform its contractual duties to adequately
compensate"Plaintiffs under the terms of the Policy. Speciticaily, it refused to pay the full
proceeds of the Policy, although due demand was made for proceeds to be _paid in an
amount sufficient to cover the damaged property, and all conditions precedent to
recovery upon the Policy had been carried out and accomplished by the Plaintiffs.
TRAVELERS’s conduct constitutes a breach of the insurance contract between
TRAVELERS and Plaintiffs.

Defendant TRAVELERS misrepresented to Plaintiffs that the damage to the Property
was not covered under the Policy, even though the damage was caused by a covered
occurrence Defendant TRAVELERS’s conduct constitutes a violation of the Texas
Ins-u-rance"Code, Unfair Settlement Practices. TE-X. 'I'NS. CODE §541.-(}60(a)(l).

Defendant TRAVELERS failed to make an attempt to settle Plaintiffs’ ciaim in_a fair
manner, although they were aware of their liability to Plaintift`s under the Policy.
Defendant TRAVELERS’s conduct constitutes a violation of the Texas Insurance Code,
Unt`air Settiement Practices. TEX. INS. CODE §541.060(a)(2)(A).

Defendant TRAVELERS failed to explain to the Plaintiffs the reasons for their offer of
air-inadequate settlement Specitically, Defendant TRAVELERS failed to otter Plaintit`t`s
adequate compensation, without any explanation why full payment was not being made.

Furthermore, Defendant TRAVELERS did not communicate that any future settlements

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or payments would be forthcoming to pay for the entire losses covered under the Policy,
nor did they provide any explanation for the failure to adequately settle Plaintiffs’ ciaim.
Defendant TRAVELERS’s conduct is a violation of the Texas insurance Code, Unfair
Settlement Practices. TEX. lNS. CO.DE §541.060(a)(3).

Defendant TRAVELERS failed to affirm or deny coverage of Plaintiffs’ claim within a
reasonable time= Specificaily, Plaintif`fs did not receive timely indication of acceptance or
rejection, regarding the full and entire claim, in writing from 'Defendant TRAVELERS.
Defendant TRAVELERS’s conduct constitutes a violation of the Texas lnsurance Code,
Unfair Settlernent Practices. TEX. INS. CODE §54i .060(a)(4).

Defendant TRAVELERS refused to fully compensate Plaintiffs, under the terms of the
Policy, even though Defendant TRAVELERS faiied to conduct a reasonable
investigation Specif.ieally, Defendant TRAVELERS performed an outcome-oriented
investigation of Plaintiffs’ claim, which resulted in a biased, unfair, and inequitable
evaluation of Plaintiffs’ losses on the 'Property. Det`endant TRAVELERS’s conduct
constitutes a violation of the Tex'asl;nsurance Code, U.nfair Settlement Practices. TEX.
INS. CODE §541.060_(21)(7).

Defendant TRAVELERS failed to meet its obligations under the Texas lnsurance Code
regarding timely acknowledging Plaintiffs"- claim`, beginning an investigation of
Plaintiffs’ claim, and requesting all information reasonably necessary to investigate
Plaintiffs’ claim, within the statutorily mandated time of receiving notice of Plaintiffs’
claim. TRAVELERS’s conduct constitutes a violation of the Texas lnsurance Code,

Prompt Payrnent of Clairns. TEX. INS. CODE §542.055.

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Defendant TRAVELERS failed to accept or deny Plaintiffs’ full and entire claim within
the statutorily mandated time of receiving all necessary information TRAVELERS’s
conduct constitutes a violation of the Texas lnsurance Code, Prompt Payrnent of Claims.
TEX. INs. CODB '§542.056.

Defendant TRA'V'ELERS failed to meet its obligations under the Texas lnsurance Code
regarding payment of claim without delay. Specifically, it has delayed full payment of
Plaintiffs’ claim longer than allowed and, to date, Plaintiffs have not received full
payment for their claim. TRAVELERS’s conduct constitutes a violation of the Texas
lnsurance Code, P-rompt Payment of Claims. TEX. lNS. CODE §542.058.

Fro"m and after the time Plaintiffs’ claim Was presented to Defendant TRAVELERS, the
liability of TRAVE.LERS to pay the full claim in accordance with the terms of the Policy
was reasonably clear. However, TRAVELERS has refused to pay Pl.aintiffs. in full,
despite there being no basis whatsoever on which a reasonable insurance company would
have relied to deny the full payment TRAVELERS’§ conduct constitutes a breach of the
Common law duty .otlgood faith and fair dealing

Defendants knowingly or recklessly made false representations, as described above, as to
material facts and/or knowingly concealed afl or part of material information from
Plaintiffs. n

As a result of Defendants’ wrongful acts and omissions, Plaintiffs were forced to retain
the professional services of the attorney and law fifth who is representing him with
respect to these causes of action.

CAUS_ES OF ACTION

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Defendants are liable to Plaintiffs for intentional breach of contract, as well as intentional
violations of the Texas lnsurance Code and Deceptive Trade. Practices Act, intentional
breach of the common law duty of good faith and fair dealing, and common law fraud.

BREACH OF CONTRAC'I`

The Policy is a vaiid, binding, and enforceable contract between Plain-tiffs and Defendant.
Defendant TRAVELERS"$ conduct constitutes a breach of the insurance contract made
between TRAVELERS and Piaintiffs.

Defendant TRAVELERS’s failure and/or refusal, asidescribed above, to pay the adequate
compensation as it is obligated to do under the terms of the Policy in question, and under
the laws of the State of Texas, constitutes a breach of TRA§JELERS’s insurance contract
with Plaintiffs.

The Defendant’s breach proximately caused Plaintiffs’ injuries and damages

All conditions precedent required under the Policy have been performed, excused,
waived, or otherwise satisfied by the Plaintitf§l

'NONCOl\/[PLIANCE WITH TEXAS INSURANCE CODE;
UNFAIR SETTLEMENT..BRACTICES

Def`endants’ conduct constitutes multiple violations.of the Texas lnsurance Code, Unfair
Settlement Practices. TEX. iNS. CODE §54£.060(a). All violations under this article are
madeactionable by TEX. lNS. €E)DE §'54]1151.

Defendants’ unfair settlement practice, as described above, of misrepresenting -to
Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance TEX.

INS. cons §541.060(a)(1).

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Defendants’ unfair settlement practice, as described above, of failing to attempt in good
faith to effectuate a prompt, fair, and equitable settlementl of the claim, even though
TRAVELERS’s liability under the Policy was reasonably clear, constitutes an unfair
method of competition and an unfair and,deceptiv-e act or practice in the business of
insurance TEx. ins ones §541.060(3)(2')@).

Defendants’ unfair-settlement practice, as described above, of failing to promptly provide
Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to the facts
or applicable law, for its offer of a compromise settlement of the claim, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business
of insurance TBX. INS. CODE §54] .060(a)(3_).

Defendants’ unfair settlement practice, as described above, of failing within-a reasonable
time to affirm or deny coverage of the claim to Plaintiffs, or to submit a reservation of
rights to Plaintiffs, constitutes an unfair method of competition and an unfair and
deceptive act or practice in the business ofinsurance.. TEX. INS. CODE §541.060(a)(4).
Defendants’ unfair settlement practice, as described above, of refusing to pay Plai.ntiffs’
claims without conducting a reasonable investigation, constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance. TEX.
INS. CODE §54l .060(a)(7).

Eacb of the foregoing unfair settlement practices were completed knowingly by the
Defendants, and were a producing cause of Plaintiffs’ injuries and damages

NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
THE PROMPT PAYMENT OF CLAIMS

The Claim is a claim under an insurance policy with the Defendant of which Plaintiffs

gave proper notice. The Defendant is liable for the Clairn. Defendant’s conduct

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constitutes multiple violations of the Texas lnsurance Code, Prornpt Payrnent of Claims.
All violations made under this article are made actionable by TBX. INS. CODE §542.060.
Defendant'T-PeAVELERS’s failure to acknowledge receipt of Plaintiffs’ ~claim, commence
investigation of the claim, and request from Plaintiffs all items, statements-, and forms
that it reasonably believed would be required within the applicable time constraints, as
described above§: constitutes a non-prompt payment of claims and a violation of TEX. lNS.
CODE §542.055.
Defendant TRAVELERS’s failure to notify P]aintiffs in writing of its acceptance or
rejection of the claim within the applicable time constraints, constitutes a non-prompt
payment of the claim. TEX. INS. CODE §542.056.
Defendant TRAVEL-ERS’$ delay of the payment of Plaintiffs’ claim following its receipt
of all items, statements, and forms reasonably requested and required, longer than the
amount of time provided for, as described above, constitutes a non-prompt payment of
the claim. TEX. INs. Coos §542.0.58.
Each of the foregoing unfair settlement practices were completed knowingly by the
Defendants; and were a producing-cause of Plaintiffs’ injuries and damages

BREACH OF 'I`HE DUTY OF GOOD FAITH AND FAIR ])EALING
The Defendants breached the-common law duty of good faith and fair dealing owed“ to
Plaintiffs by denying or delaying payment on the Claim when Defendants knew or should
have known that liability was reasonably clear.
Defendants’~failure, as described above, to adequately and reasonably investigate and

evaluate Plaintiffs’ claim, although, at that time, TRAVELERS knew or Should have

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known by the exercise of reasonable diligence that its liability was reasonably clear,
constitutes a breach of the duty of good faith and fair dealing.
Defendants’ conduct proximately caused P-laintiffs’ injuries and damages

VIOLATION OF TEXAS DECEPTIVE 'I`RADE PRACTICES ACT
Defendants’ conduct violated the Texas Deceptive Trade Practices Act, TEX. BUS. &
COM. CODE § 17.41, et seq. (hereinafter the “D'I`PA”) by engaging in “false, misleading
or deceptive acts and practices.”
Plaintiffs are a “consumer” in that Plaintiffs acquired goods and/or services by purchase,
and the goods and/or services form the basis of this action.
The Det`endants committed numerous violations of the Texas DTPA, insofar as
Defendants:

a) Represented that goods or services have sponsorship, approval, characteristics,
ingredients, uses, benefits, or quantities which they do not have;

b) Represented that an agreement confers or involves rights, remedies, or obligations
which it does not have or involve, or which are prohibited by law;

c) Failed to disclose information concerning goods or services which-was known at
the time of the transaction,,when"such failure to disclose such information was
intended to.induce the consumer into a transaction into which the consumer would
not have entered had the information been disclosed;

d) Generally engaged in unconscionable courses of action while handling the'Clairn;
and/or

e) Vioiated the provisions of the Texas lnsurance Code described herein.

*T"ne Defendants took advantage of the Plaintiffs’ lack of knowledge, ability, experience
or capacity to a grossly unfair degree and to the Plaintiffs’ detriment The Defendants’
acts also resulted in a gross disparity between the value received and the consideration
paid in a transaction involving the transfer of consideration As a result of the

Defendants’ violations of the DTPA7 Plaintift`s suffered actual damages ln addition, the

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Defendants committed the above acts knowingly and/or intentionally, entitling Plaintiffs
to three times Plaintiffs’ damages for economic relief.

COMMON LAW FRAUD
Defendants are liable to Plaintiffs for common law fraud.
Each and every one of the representations, as described above, concerned material facts
for the reason-that absent such representations, Plaintiffs would not have acted as he did,
and which Defendants knew were false or made recklessly without any knowledge of
their truth as a positive assertion.
The statements were made with the intention that they should be acted upon by Plaintiffs,
who in turn acted in reliance upon the statements, thereby causing lPlaintiffs. to suffer
injury and constituting common law fraud.
The Defendants knowingly or recklessly made false representations as to material facts
and/or knowingly concealed all or part of material information from Plaintiffs with the
intent of inducing Plaintiffs to accept a denial and/or underpayment of insurance benefits
The Defendants allowed Plaintiffs to_ use this infonnation, -or lack thereof, in justifiable
reliance in accepting __ the denialj and-for underpayment Plaintiffs relied upon said
statements in accepting the denial and/or underpay_ment of the Claim, and suffered injury
as a result.

DAMAGES

Plaintiffs would show that all of the aforementioned acts, taken together or singularly,
constitutetheproducing causes of the damages sustained by Plaintiffs.
The damages caused by the hail storm and/or windstorm have not been properly

addressed or repaired in the months since the storm, causing further damages to the

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Propcrty, and causing undue hardship and burden to Plaintiffs. These damages are a
direct result of Defendants’ mishandling of Plaintiffs’ claim in violation of the laws set
forth above.

59. For breach of contract, Plaintilfs are entitled to regain the benefit of their bargain, which
is the amount of their claim, together with attorney’s fees and pre-judgment interest

60. -For noncompliance with the Texas lnsurance Code, U-nfair Settlement Practices,
Plaintiffs are entitled to actual damages, which include the loss of the benefits that should
have been paid pursuant to the policy, mental anguish, court costs, and attorney's fees.
For knowing conduct of the acts described above, Plaintiffs ask for three times their
actual damages TEX. INS. CODE §541 .152.

61. _For noncompliance with Texas insurance Code, Prompt Payment of Claims, Plaintiffs are
entitled to the claim amount, as well as eighteen (18_) percent interest per annum on the
amount of such claim as damages, together with attomey's fees. TEX. INS. CODE
§542.060.

621 ,F.o_r__ breach of the common law duty of good faith¢and fair-dealing,. Plaintiffs entitled to
compensatory damages, including all forms of loss resulting from the insurer's'breach of
duty, such as additional costs, economic hardship, losses due to nonpayment of the
amount the insurer,owed, exemplary damages, and damages for emotional-distress

63. For violations of the Deceptive Trade Practices Act, Plaintiffs are entitled to recover
actual damages and up to three times Plaintiffs’ damages for economic relief, along with

attomey’s'fees, interest and court costs

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For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for
knowingly fraudulent and malicious representations, along with attorney’s fees, interest,
and court costs.
For- the prosecution and collection of this claim, Plaintiffs have been compelled to engage
the services of the attorney whose name is subscribed to this pleading Therefore,
Plaintiffs are entitled to recover a sum for the reasonable and necessary services of
Plaintiffs’ attorney in the preparation and trial of this action, including any appeals to the
Court of Appcals and/or the Supreme Court of Texas.
Plaintiffs are not making any claims for relief under federal law.

JURY' DEMAND
Plaintiffs request a jury trial', and have tendered any and all requisite fees for such along
with the filing of this Plaintijfs ’ Origr'nal Perftion.

PRAYER

WHEREFORE, Plaintiffs respectfully request that final judgment be rendered for the

Plaintiffs as follows:

i) .ludgment against Defendants for actual damages in an amount"to be determined by
the jury;

2) Statutory benefits;

3) Treble damages;

4) Exemplary and punitive damages;

5) Pre-judgment interest"as provided by law;
6) Post-judgrnent interest as provided by law;
7) Attorneys’ fees;

8) Costs of Suit;

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9) Such other and further relief to which Plaintiffs may be justly entitled.

Respectfull Subrnitted,
By: _’.' _` '°' ?‘é-.l-M_)

Shaun W. Hodge

Texas Bar No. 24052995

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Facsimile: (409) 763~2300 __
Email: shodge@hodgetirrr`r.corn

 

ATTORNEY FOR PLATNTIFFS

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